Case 2:05-CV-02446-SHI\/|-STA Document 14 Filed 08/03/05 Page 1 of 3 Page|D 1

IN THE UNITED STATES DISTRICT COURT Fll.=.=n ev m%____* D_¢_
FOR THE WESTERN DISTRlCT 0F TENNESSEE
AT MEMPHIS 05 AUG -3 AH lU= |7
ROBERT HALF INTERNATIONAL, INC., CLERKW`§&§~,§'T§§TMMI
Plaimiff, W/D GF i z_¢i;}‘-.»?PHIS

V.

VACO, LLC, a Tennessee Limited Liability
Company, VACO MID-SOUTH, LLC, a
Tennessee Limited Liability Company, VACO
RESOURCES, LLC, a Tennessee Limited
Liability Company, JERRY BOSTELMAN, an
Individual, JAY HOLLOMON, an Individual,
BRANDON GUY, an Individual, BRIAN
WALLER, an Individual, SCOTT GORDON,
an lndividual, ALEX NADELL, an Individual,
KIRK JOHNSTON, an Individual, and
CHERYL CITRONE, an Individual,

Defendants.

CASE No.= 05-2446 ,A\a,

Jury Demand

HVVVVVVWVVVVVVVVVWW\J

ORDER

For good cause Shown, the date by which Defendants must respond to the
Complaint in the above-referenced matter Shall be Friday, July 29, 2005.

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JUDGE

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Case 2:05-CV-02446-SHI\/|-STA Document 14 Filed 08/03/05 Page 2 of 3 Page|D 2

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
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Honorable Samuel Mays
US DISTRICT COURT

